Case 0:24-cr-60126-DSL Document 142 Entered on FLSD Docket 07/18/2025 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 24-CR-60126-LEIBOWITZ

  UNITED STATES OF AMERICA

  vs.

  JANICE ELEANOR TURNER
  and
  KIESEAN PAUL ANDERSON,
              a/k/a/ Sean Kingston
                             Defendants.
  ____________________________________/

  GOVERNMENT’S OBJECTION TO PRE-SENTENCE INVESTIGATION REPORT

         COMES NOW, the United States of America, by and through its undersigned Assistant

  United States Attorney, and hereby submits its objections to the revised Pre-Sentence Investigation

  Report (PSI), and in support, states as follows:

         On March 28, 2025, the defendant was found guilty by a jury of Counts One, Three, Four,

  Five, and Six of a six count indictment. Count One charged the Defendant with conspiracy to

  commit wire fraud, in violation of 18 U.S.C. § 1349. Counts Three, Four, Five, and Six charged

  her with wire fraud, in violation of 18 U.S.C. § 1343.

         Thereafter, a PSI was completed by U.S. Probation (DE 125), and it was determined that

  the Defendant had a total offense level of 23 and a criminal history category of II, for an advisory

  guidelines imprisonment range of 51-63 months. Later, a revised PSI was disclosed on July 16,

  2025 (DE 135) which ultimately resulted in a total offense level of 25, with a criminal history

  category of II, for an advisory guidelines range of 63-78 months. While it does not ultimately

  affect the overall guidelines range as calculated, (Under 2B1.1(b)(1)(I), offenses involving more

  than $1,500,000 but not more than $3,500,000 result in a 16 level increase in the offense level),



                                                     1
Case 0:24-cr-60126-DSL Document 142 Entered on FLSD Docket 07/18/2025 Page 2 of 3



  the PSI and its revision omit additional relevant conduct victims, and therefore the Government

  files this instant objection to ensure that loss amounts and restitution are accurately calculated and

  awarded to victims.

          As outlined below, it is the Government’s position that there are now a total of 21 total

  victims, who suffered an intended loss of $3,125,601.92 with a restitution loss of $1,167,700.

  Twelve (12) of these victims were defrauded within the time periods charged in the instant

  conspiracy, and ten (10) 1 of these victims were defrauded outside the time period charged in the

  instant conspiracy but are included as they constitute relevant conduct under the Sentencing

  Guidelines. USS Special Agent Amanda Cook will testify as to the below chart and will present

  as evidence text messages, fake wire receipts, and other documents that justify the below loss

  spreadsheet.




          WHEREFORE, for the foregoing reasons, the Government objects to the loss amounts as

  calculated by U.S. Probation and states that the correct intended loss is $3,125,601.92 with a


  1
    One victim, Alan and Co Jewelers LLC suffered a loss both within and outside the time periods charged in the
  Indictment.




                                                        2
Case 0:24-cr-60126-DSL Document 142 Entered on FLSD Docket 07/18/2025 Page 3 of 3



  restitution loss of $1,167,700. There remains no change to the total offense level as calculated by

  U.S. Probation.

                                                       Respectfully submitted,

                                                       HAYDEN P. O’BYRNE
                                                       UNITED STATES ATTORNEY

                                                 By: /s/ Marc S. Anton
                                                     MARC S. ANTON
                                                     Assistant U.S. Attorney
                                                     Florida Bar No. 0148369
                                                     500 E. Broward Blvd., Suite 700
                                                     Fort Lauderdale, FL 33394
                                                     Tel: (954) 660-5096
                                                     Fax: (954) 356-7336
                                                     Marc.anton@usdoj.gov

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 18, 2025, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF.

                                                       / s/ Marc S. Anton______________
                                                       Assistant U.S. Attorney




                                                  3
